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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION CRI ? _ 9 04 @

UNITED STATES OF AMERICA INDICTMENT NO. |

)
)
) 18 U.S.C. § 1519

) Destruction, Alteration, or

) Falsification of Records in Federal
) Investigations and Bankruptcy
)

)

)

)

)

18 U.S.C. § 1001(a)(2)

False Statement or Representation
Made to a Department or Agency of
the United States

 

 

PENALTY CERTIFICATION
Count(s)/Charge Statutory Penalty
Count 1 Not more than 20 years imprisonment; a fine of not
18 U.S.C. § 1519 more than $250,000; a term of supervised release of

not more than 5 years; and a $100 special
assessment. (Each count)

Not more than 5 years imprisonment; a fine of not
more than $250,000; a term of supervised release of
not more than 1 year; and a $100 special
assessment. (Each count)

Count 2
18 U.S.C. § 1001(a)(2)

Respectfully submitted,

DAVID H. ESTES
ACTING UNITED STATES ATTORNEY

s/ Tara M. Lyons

Tara M. Lyons

Assistant United States Attorney
South Carolina Bar Number 16573
